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           In the United States Court of Federal Claims
                                          No. 13-940C
                                    (Filed: February 2, 2018)
                                   NOT FOR PUBLICATION

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SONOMA APARTMENT ASSOCIATES, *
A California Limited Partnership,   *
                                    *
                      Plaintiff,    *                Motion for Reconsideration; Intervening
                                    *                Change in Law; Tax Neutralization
 v.                                 *                Payment; Tax Cuts and Jobs Act, Pub. L.
                                    *                No. 115-97
THE UNITED STATES,                  *
                                    *
                      Defendant.    *
*************************************

                                             ORDER

        On December 28, 2017, defendant in the above-captioned case filed a motion for
reconsideration of the court’s December 1, 2017 judgment, arguing that the December 22, 2017
enactment of the Tax Cuts and Jobs Act, Pub. L. No. 115-97, 131 Stat. 2054 (2017), constitutes a
change of law that necessitates a recalculation of the tax neutralization payment awarded to
plaintiff. In accordance with the court’s January 8, 2018 order, plaintiff filed a response to
defendant’s motion on February 1, 2018. It argues that defendant has not shown that there was
an intervening change in the controlling law and that denial of defendant’s motion is warranted
for public policy reasons and the interests of justice.

        A motion for reconsideration is a request for extraordinary relief and is not to be used by
a dissatisfied party to relitigate the case. Caldwell v. United States, 391 F.3d 1226, 1235 (Fed.
Cir. 2004); Four Rivers Invs., Inc. v. United States, 78 Fed. Cl. 662, 664 (2007); Fru-Con Constr.
Corp. v. United States, 44 Fed. Cl. 298, 300 (1999), aff’d per curiam, 250 F.3d 762 (Fed. Cir.
2000) (unpublished table decision). Thus, such a motion “does not provide an occasion for a
party ‘to raise arguments that it could have raised previously, but did not’” or to “‘reassert
arguments that the Court already has considered.’” Four Rivers Invs., Inc., 78 Fed. Cl. at 664
(quoting Browning Ferris Indus., Inc. & Subsidiaries v. United States, No. 05-738T, 2007 WL
1412087, at *1 (Fed. Cl. May 10, 2007)). Rather, a court “‘may grant a motion for
reconsideration when there has been an intervening change in the controlling law, newly
discovered evidence, or a need to correct clear factual or legal error or prevent manifest
injustice.’” Biery v. United States, 818 F.3d 704, 711 (Fed. Cir. 2016) (quoting Young v. United
States, 94 Fed. Cl. 671, 674 (2010)). “The decision whether to grant reconsideration lies largely
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within the discretion of the [trial] court.” Yuba Natural Res., Inc. v. United States, 904 F.2d
1577, 1583 (Fed. Cir. 1990).

        The court has reviewed the parties’ submissions, and finds that plaintiff’s arguments are
more compelling. As an initial matter, in concluding that plaintiff was entitled to a tax
neutralization payment, the court held that it was reasonable for plaintiff to use 2015 tax rates to
project plaintiff’s partners’ future tax liabilities:

       In calculating the tax neutralization payment, Dr. Ben-Zion used the federal and
       state income tax rates for 2015 to project the partners’ tax liabilities for each year
       from 2016 through 2035 because it was impossible to predict how Congress might
       change the income tax rates in the future. The court finds Dr. Ben-Zion’s use of
       2015 income tax rates to project future tax liabilities to be reasonable. As Dr.
       Ben-Zion recognized, it is impossible to predict what Congress might do in the
       future . . . . Therefore, Dr. Ben-Zion’s use of existing income tax rates is no more
       speculative than the use of any other income tax rates.

Opinion & Order 83. The fact that Congress amended the Internal Revenue Code after this court
entered judgment merely reinforces the impossibility of predicting future changes to the Internal
Revenue Code. Therefore, the postjudgment enactment of the Tax Cuts and Jobs Act has no
bearing on the court’s earlier holding that it was reasonable for plaintiff to base its projections on
2015 tax rates. As plaintiff remarks, “[t]he fact that tax rates and applications could change in
the future was already taken into account by the court in reaching its decision on appropriate
damages.” Resp. 4.

         Furthermore, the court concluded that plaintiff’s simplified approach to calculating a tax
neutralization payment was appropriate, explaining that “requiring Dr. Ben-Zion’s methodology
to account for every possible event that might affect the partners’ future tax liabilities risks
making the necessary calculations so complex and unwieldy that the amount of a tax
neutralization payment could never be determined, notwithstanding the appropriateness of the
remedy.” Opinion & Order 80. The fact that the Tax Cuts and Jobs Act significantly overhauls
the Internal Revenue Code and might, as a result, significantly alter plaintiff’s partners’ future tax
liabilities, only reinforces the court’s acceptance of plaintiff’s simplified methodology.

       In sum, defendant has not established that the Tax Cuts and Jobs Act constitutes an
intervening change in controlling law that necessitates a recalculation of the tax neutralization
payment awarded to plaintiff. Therefore, the court DENIES defendant’s motion for
reconsideration.

       IT IS SO ORDERED.
                                                       s/ Margaret M. Sweeney
                                                       MARGARET M. SWEENEY
                                                       Judge


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